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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,

                                                         Case No. 07-20119
vs.                                                      HON. GEORGE CARAM STEEH

D-4 APRIL MANNING

                Defendant.
____________________________/

                        OPINION AND ORDER
      DENYING DEFENDANT’S MOTION FOR A BILL OF PARTICULARS (#80)

       Defendant April Manning moves for a bill of particulars as to Count I of a March 8,

2007 Indictment charging her and several co-defendants with conspiracy to possess with

intent to distribute heroin and crack cocaine in violation of 21 U.S.C. § 846. Manning

requests that the government provide two particulars: (1) the "specific functions" that

Manning allegedly performed for co-defendant DeAngelo Young; and (2) the locations of

alleged "storehouses" used in furtherance of the alleged conspiracy. The facts and legal

arguments presented in the parties' briefs are sufficient to adjudicate the motion. Oral

argument would not significantly aid the decisional process. Pursuant to E.D. Mich. Local

R. 7.1(e)(2), it is ORDERED that the motion be resolved without oral argument.

       "The purposes of a bill of particulars are to inform the defendant of the nature of the

charge against him with sufficient precision to enable him to prepare for trial, to avoid or

minimize the danger of surprise at the time of trial, and to enable him to plead his acquittal

or conviction in bar of another prosecution for the same offense when the indictment itself

is too vague, and indefinite for such purposes." United States v. Birmley, 529 F.2d 103,

108 (6th Cir. 1976).
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       It is well established that a motion for a bill of particulars lies within the
       discretion of the trial court. United States v. Barrett, 505 F.2d 1091, 1106 (7th
       Cir. 1974), cert. denied, 421 U.S. 964, 95 S.Ct. 1951, 44 L.Ed.2d 450 (1975);
       United States v. Cansler, 419 F.2d 952, 954 (7th Cir. 1969), cert. denied, 397
       U.S. 1029, 90 S.Ct. 1278, 25 L.Ed.2d 540 (1970). The denial of such a
       motion is reviewable only as an abuse of discretion. United States v. Giese,
       597 F.2d 1170, 1180 (9th Cir. 1979), cert. denied, 444 U.S. 979, 100 S.Ct.
       480, 62 L.Ed.2d 405. The test for whether a bill of particulars is necessary
       is "whether the indictment sets forth the elements of the offense charged and
       sufficiently apprises the defendant of the charges to enable him to prepare
       for trial." United States v. Roya, 574 F.2d 386, 391 (7th Cir. 1978), cert.
       denied, 439 U.S. 857, 99 S.Ct. 172, 58 L.Ed.2d 165.

United States v. Kendall, 665 F.2d 126, 134 (7th Cir. 1981), cert. denied, 455 U.S. 1021

(1982) (emphasis deleted) (cited with approval in United States v. Martin, No. 86-1663,

1987 WL 38036, **3 (6th Cir. July 14, 1987)). "[T]here is no requirement in conspiracy

cases that the government disclose . . . all the overt acts in furtherance of the conspiracy."

United States v. Atisha, 804 F.2d 920, 927 (6th Cir. 1986) (quoting United States v. Giese,

597 F.2d 1170, 1180 (9th Cir.), cert. denied, 444 U.S. 979 (1979)). "To the extent that the

indictment or information itself provides details of the alleged offense, a bill of particulars

is, of course, unnecessary." Giese, 597 F.2d at 1180 (quoting 8 Moore's Federal Practice

P 7.06(1) at 7-31 n.1 (2d ed. 1978)).

       The essential elements of a drug conspiracy charge are "an agreement between two

or more individuals, with the intent to commit an offense in violation of the Controlled

Substance Act." United States v. Crayton, 357 F.3d 560, 573 (6th Cir. 2004) (quoting

United States v. Sullivan, 903 F.2d 1093, 1098 (7th Cir. 1990)), cert. denied, 124 S.Ct.

2857 (2004). "The drug conspiracy statute does not require proof of any overt acts."

United States v. Meyers, 102 F.3d 227, 235 (6th Cir. 1996) (citing United States v. Shabani,

115 S.Ct. 382, 383 (1994)). Count I alleges that April Manning, DeAngelo Young, and eight

other co-defendants agreed with each other to possess heroin and crack cocaine with

intent to distribute from 2005 to March 8, 2007, that Young supplied heroin and crack


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cocaine to the eight co-defendants as street dealers, and that April Manning "kept

storehouses" for Young "and performed a variety of other functions" for Young. Count I

sufficiently sets forth the elements of the § 846 drug conspiracy charge and, in addition,

apprises April Manning that she is accused of keeping drug storehouses in furtherance of

the conspiracy. Kendall, 665 F.2d at 134; Crayton, 357 F.3d at 573. The indictment was

not required to disclose the additional overt acts which constitute the "variety of other

functions." Atisha, 804 F.2d at 927; See also United States v. Rosenthal, 793 F.2d 1214,

1127 (11th Cir. 1986) (recognizing that government is not required to provide the defendant

with all overt acts prior to trial). This is not a situation where the indictment fails to provide

"a shred of detail." Compare United States v. Barnes 155 F.3d 662 (2nd Cir. 1998)

(referring to United States v. Ramirez, 602 F. Supp. 783, 793 (S.D.N.Y. 1985)).

       A bill of particulars is not a device to be used by the defendant to acquire detailed

disclosure of all evidence before trial, or in this case, to acquire the addresses of the

alleged storehouses. Rosenthal, 793 F.2d at 1127; United States v. Ridley, 199 F.Supp.2d

704, 708 (S.D. Ohio 2001) (quoting United States v. Salisbury, 983 F.2d 1369, 1375 (6th

Cir. 1993)). In that the Indictment sets forth the elements of the drug conspiracy charge

and apprises April Manning of the charge sufficient enough to enable her to prepare for

trial, Manning's dissatisfaction with the discovery she has received to date does not warrant

a bill of particulars. Accordingly,

       April Manning’s motion for a bill of particulars is hereby DENIED.

       SO ORDERED.

Dated: November 6, 2007

                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE



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                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                   November 6, 2007, by electronic and/or ordinary mail.

                                   s/Josephine Chaffee
                                       Deputy Clerk




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